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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00015-GEB
12                                 Plaintiff,
                                                          STIPULATION REGARDING EXCLUDABLE
13                           v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                          [PROPOSED] FINDINGS AND ORDER
14   GURDEEP SINGH,
                                                          DATE: April 28, 2017
15                                 Defendant.             TIME: 9:00 a.m.
                                                          COURT: Hon. Garland E. Burrell, Jr.
16

17                                                STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on April 28, 2017.
21          2.       By this stipulation, defendant now moves to continue the status conference until June 2,
22 2017, and to exclude time between April 28, 2017, and June 2, 2017, under Local Code T4.

23          3.       The parties agree and stipulate, and request that the Court find the following:
24                   a)     The government has represented that the discovery associated with this case
25          includes written reports and descriptions of the items found during defendant’s arrest, including a
26          phone. All of this discovery has been either produced directly to counsel and/or made available
27          for inspection and copying.
28                   b)     Counsel for defendant desires additional time to consult with his client, review the

      STIPULATION REGARDING EXCLUDABLE TIME               1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          discovery, and conduct an investigation.

 2                   c)     Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                   d)     The government does not object to the continuance.

 6                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of April 28, 2017 to June 2, 2017,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19
     Dated: April 26, 2017                                     BENJAMIN B. WAGNER
20                                                             United States Attorney
21
                                                               /s/ PAUL A. HEMESATH
22                                                             PAUL A. HEMESATH
                                                               Assistant United States Attorney
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24
     Dated: April 26, 2017                                     /s/ ROBERTO MARQUEZ
25                                                             ROBERTO MARQUEZ
26                                                             Counsel for Defendant
                                                               GURDEEP SINGH
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      STIPULATION REGARDING EXCLUDABLE TIME                2
30    PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:15-cr-00015-TLN Document 143 Filed 04/27/17 Page 3 of 3


 1                                      FINDINGS AND ORDER

 2        IT IS SO FOUND AND ORDERED.

 3        Dated: April 27, 2017

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     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
